                                               Case 3:19-cv-03032-SK Document 52 Filed 11/24/20 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     TRANSGENDER LAW CENTER, et al.,                    Case No. 19-cv-03032-SK
                                   8                      Plaintiffs,
                                                                                            JUDGMENT
                                   9               v.

                                  10     UNITED STATES IMMIGRATION AND
                                         CUSTOMS ENFORCEMENT, et al.,
                                  11
                                                          Defendants.
                                  12
Northern District of California
 United States District Court




                                  13             In accordance with the Court’s Order granting in part and denying in part Defendants’

                                  14   motion for summary judgment and granting in part and denying in part Plaintiffs’ cross-motion for

                                  15   summary judgment, judgment is HEREBY ENTERED. The Clerk of Court is directed to close the

                                  16   file.

                                  17             IT IS SO ORDERED AND ADJUDGED.

                                  18   Dated: November 24, 2020

                                  19                                                    ______________________________________
                                                                                        SALLIE KIM
                                  20                                                    United States Magistrate Judge
                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
